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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                  CRIMINAL NO. 1:14CR89-12
                                                (Judge Keeley)


 ERIK JONES,

                   Defendant.

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

       On   February    25,   2015,   defendant,   Erik   Jones   (“Jones”),

 appeared before United States Magistrate Judge John S. Kaull and

 moved for permission to enter a plea of GUILTY to Count Ten of the

 Indictment. Jones stated that he understood that the magistrate

 judge is not a United States District Judge, and consented to

 pleading before the magistrate judge.        This Court had referred the

 guilty     plea   to   the   magistrate   judge   for    the   purposes   of

 administering the allocution pursuant to Federal Rule of Criminal

 Procedure 11, making a finding as to whether the plea was knowingly

 and voluntarily entered, and recommending to this Court whether the

 plea should be accepted.

       Based upon Jones’ statements during the plea hearing and the

 testimony of Sergeant Joe Adams, the magistrate judge found that

 Jones was competent to enter a plea, that the plea was freely and

 voluntarily given, that he was aware of the nature of the charges
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 against him and the consequences of his plea, and that a factual

 basis    existed   for   the   tendered   plea.   On   March   2,    2015,   the

 magistrate judge entered an Opinion/Report and Recommendation

 Concerning Plea of Guilty in Felony Case (“R&R”) (dkt. no. 284)

 finding a factual basis for the plea and recommended that this

 Court accept Jones’ plea of guilty to Count Ten of the Indictment.

         The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. The magistrate judge further directed that

 failure to file objections would result in a waiver of the right to

 appeal from a judgment of this Court based on the R&R. After which,

 the parties did not file any objections.

         Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Jones’ guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count Ten of the Indictment.

         Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.




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         Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

         1.   The   Probation     Officer     undertake     a    presentence

 investigation of ERIK JONES, and prepare a presentence report for

 the Court;

         2.   The Government and Jones are to provide their versions of

 the offense to the probation officer by March 31, 2015;

         3.   The presentence report is to be disclosed to Jones,

 defense counsel, and the United States on or before May 18, 2015;

 however, the Probation Officer is not to disclose the sentencing

 recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

         4.   Counsel may file written objections to the presentence

 report on or before June 1, 2015;

         5.   The Office of Probation shall submit the presentence

 report with addendum to the Court on or before June 15, 2015; and

         6.   Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the

 factual basis from the statements or motions, on or before June 29,

 2015.




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      GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

       The magistrate judge remanded Jones to the custody of the

 United States Marshal Service.

       The   Court   will   conduct    the   sentencing   hearing   for   the

 defendant on Friday, July 10, 2015 at 2:30 P.M. at the Clarksburg,

 West Virginia point of holding court.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: March 17, 2015


                                      /s/ Irene M. Keeley
                                      IRENE M. KEELEY
                                      UNITED STATES DISTRICT JUDGE




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